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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
                                                     § CASE NUMBER 6:19-CR-00041-JCB
 v.                                                  §
                                                     §
                                                     §
 COREY MONTEZ ALLEN (1)                              §
                                                     §

               FINDINGS OF FACT AND RECOMMENDATION ON
        GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On September 22, 2020, this cause came before the undersigned United States Magistrate

Judge for a plea of guilty to an Indictment charging Defendant Corey Montez Allen in Count One

with a violation of Title 18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm. After conducting

said proceeding in the form and manner prescribed by FED. R. CRIM. P. 11, the undersigned finds

that:

        a.     Defendant, after consultation with counsel of record, has knowingly and voluntarily

consented to the administration of the Guilty Plea in this cause by a United States Magistrate Judge,

subject to a final acceptance and imposition of sentence by the District Judge;

        b.     Defendant and the government have entered into a plea agreement which has been

filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

        c.     Defendant is fully competent and capable of entering an informed plea, that the

defendant is aware of the nature of the charges, the maximum penalties, and the consequences of

the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent


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basis in fact containing each of the essential elements of the offense; and

       d.      Defendant understands each of the constitutional and statutory rights enumerated

in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

       IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

Agreement and the Guilty Plea of the defendant and that COREY MONTEZ ALLEN should be

finally adjudged guilty of that offense.

       Defendant has waived his right to object to the findings of the Magistrate Judge in this

matter, and the Government also waived its right to object, so the Court will present this Report

and Recommendation to District Judge J. Campbell Barker for adoption immediately upon

issuance.


        So ORDERED and SIGNED this 22nd day of September, 2020.




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